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                            16
                                                                 UNITED STATES BANKRUPTCY COURT
                            17
                                                                  CENTRAL DISTRICT OF CALIFORNIA
                            18
                                                                           NORTHERN DIVISION
                            19
                                      In re:                           )   Case No.: 9:19-BK-11573-MB
                            20                                         )   Chapter 11
                                      HVI CAT CANYON, INC.,            )
                            21                                         )   DECLARATION OF JOSEPH D. FABEL IN
                                                     Debtor.           )   SUPPORT OF RESPONSE TO REPLY OF THE
                            22                                         )   OFFICIAL COMMITTEE OF UNSECURED
                                                                       )   CREDITORS TO:
                            23                                         )
                                                                       )   (1) CALIFORNIA STATE LAND COMMISSION’S
                            24                                         )   LIMITED OBJECTION TO APPLICATION FOR
                                                                       )   ORDER AUTHORIZING AND APPROVING THE
                            25                                         )   EMPLOYMENT OF PACHULSKI STANG ZIEHL &
                                                                       )   JONES LLP AS COUNSEL FOR THE OFFICIAL
                            26                                         )   COMMITTEE OF UNSECURED CREDITORS,
                                                                       )   EFFECTIVE AS OF AUGUST 16, 2019 [Docket No.
                            27                                         )   346]; and
                                                                       )
                            28                                         )


      Loeb & Loeb                     18294781.1
A Limited Liability Partnership
    Including Professional            232604-10002
         Corporations
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                                  1                          )   (2) CALIFORNIA STATE LAND COMMISSION’S
                                                             )   LIMITED OBJECTION TO APPLICATION OF THE
                                  2                          )   OFFICIAL COMMITTEE OF UNSECURED
                                                             )   CREDITORS FOR AUTHORIZATION TO RETAIN
                                  3                          )   AND EMPLOY CONWAY MACKENZIE, INC. AS
                                                             )   FINANCIAL ADVISOR, EFFECTIVE AS OF
                                  4                          )   AUGUST 16, 2019 [Docket No. 347]
                                                             )
                                  5                          )   Hearing Date: October 28, 2019
                                                             )   Hearing Time: 10:00 a.m.
                                  6                          )   Place: Courtroom 201
                                                             )          1415 State Street, Courtroom 202
                                  7                                     Santa Barbara, CA 93101
                                                                 Judge: The Honorable Martin R. Barash
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                                  1                               DECLARATION OF JOSEPH D. FABEL

                                  2            I, Joseph D. Fabel, declare as follows:

                                  3            1.     I am an attorney for the California State Lands Commission (the “Commission”). I

                                  4   have personal knowledge of the following facts. If called upon to testify as a witness, I could and

                                  5   would testify competently thereto. Capitalized terms not defined herein shall have the same

                                  6   meaning as ascribed to them in the motion filed concurrently with this declaration.

                                  7            2.     I have been involved in representing the Commission in connection with the

                                  8   bankruptcy case of Rincon Island Limited Partnership (“RILP”), which is currently winding down

                                  9   in the Northern District of Texas Bankruptcy Court, Case No. 16-33174-hdh7). In that case, the

                            10        Commission’s claim is $78,876,162 (as of May 10, 2018).

                            11                 3.     The Commission has already spent at least $23 million out-of-pocket undertaking

                            12        the plug and abandonment work on RILP’s wells to avert serious threats to California’s coastal

                            13        environment and protect the health and safety of California’s citizens and wildlife.

                            14
                            15                 I declare under penalty of perjury under the laws of the United States of America that the

                            16        foregoing is true and correct.

                            17                 Executed this 21st day of October 2019, at Sacramento, California.

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                            19                                                                      Joseph D. Fabel
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